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  JAMES S. GOYDOS and MARIA E.                      :
  GOYDOS,                                           : UNITED STATES DISTRICT COURT
                                                    :    DISTRICT OF NEW JERSEY
                 Plaintiffs,                        :
                                                    :    Civil Action No. 19-8966 (GC)
         v.                                         :
                                                    :       MEDIATION ORDER
  RUTGERS, THE STATE UNIVERSITY,                    :
  et.al.,                                           :

                 Defendants.

         IT APPEARING that mediation of this matter would conserve the resources, and be in
 the best interest of, the parties and the Court; and good cause appearing for the entry of this
 Order:

        IT IS on this 14th day of March 2023

        ORDERED THAT:

    1. This action is hereby referred to Hon. Freda L. Wolfson, USDJ (ret.) as Mediator
       consistent with Local Civil Rule 301.1.

    2. Counsel must promptly contact the Mediator to schedule the Mediation. The Mediation
       must be concluded by May 15, 2023.

    3. Within seven (7) days of this filing, Plaintiff’s counsel must forward copies of this Order
       together with the pleadings filed in this action to the Mediator.

    4. Trial counsel and the parties’ authorized representatives cooperate with the Mediator and
       must attend all mediation sessions as required by the Mediator.

    5. Pending completion of Mediation, the Clerk is directed to administratively terminate this
       action from the Court’s active docket, without prejudice to restoration upon completion
       of Mediation.

    6. The Court will conduct a telephone status conference on May 23rd, 2023 at 3:00 P.M.
       Plaintiff’s counsel must initiate the call. The parties must submit a joint status report to
       the Court at least 48 hours in advance of the conference.
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                                             s/ Douglas E. Arpert
                                           DOUGLAS E. ARPERT
                                           United States Magistrate Judge
